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              EXHIBIT 4
                    Case 2:21-cv-00563-JNW                             Document 471-4                    Filed 06/26/25                Page 2 of 2




From:                                            Gary Mason <gmason@masonllp.com>
Sent:                                            Tuesday, March 26, 2024 9:45 AM
To:                                              Mass Arbitration Intake; Rubin, Kenneth J.; AAA Victoria Chandler
Cc:                                              Mundy, Kara M.; Papianou, John; Theo Bell; Matthews, Douglas R. (Doug); McGranor,
                                                 Timothy B. (Tim); Casper, Chuck; Skok, Gavin W.; Danielle Perry
Subject:                                         Re: Individual Claimants v. Valve Corporation - Case 01-23-0005-8758
Attachments:                                     2024-02-22 - AAA - CA Respondent Valve 14911 Confirmation Letter and Filing Fee
                                                 Mason.pdf; 2024-02-22 - AAA - CA Respondent Valve 14911 Filing Fee Invoice
                                                 Mason.pdf



**CAUTION** External Email
I am writing to confirm that Valve paid the initial filing fees which were due yesterday, March 25, 2024.

Gary

Gary E. Mason
Partner
Mason LLP
d 202.640.1160 m 202.256.8540 | gmason@masonllp.com

       Book time to meet with me


From: Mass Arbitration Intake <massarbintake@adr.org>
Sent: Thursday, February 22, 2024 2:28 PM
To: Gary Mason <gmason@masonllp.com>; Theo Bell <tbell@masonllp.com>; Danielle Perry <dperry@masonllp.com>;
Matthews, Douglas R. (Doug) <drmatthews@vorys.com>; McGranor, Timothy B. (Tim) <tbmcgranor@vorys.com>; Rubin,
Kenneth J. <kjrubin@vorys.com>; Mundy, Kara M. <kmmundy@vorys.com>; ccasper@mmwr.com
<ccasper@mmwr.com>; jpapianou@mmwr.com <jpapianou@mmwr.com>; gskok@foxrothschild.com
<gskok@foxrothschild.com>
Cc: Mass Arbitration Intake <massarbintake@adr.org>
Subject: Individual Claimants v. Valve Corporation - Case 01-23-0005-8758
Dear Counsel,
Please see the attached correspondences.
Sincerely,
Meirav Werbel,
On behalf of


               Mass Arbitration Intake

               American Arbitration Association

               E: massarbintake@adr.org

               adr.org | icdr.org | aaamediation.org



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please notify me immediately by reply email and destroy all copies of the transmittal. Thank you.
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